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     In The United States Court of Federal Claims
                        Nos. 07-06T, 07-706T, 08-135T, & 08-605T

                                (Filed: December 16, 2011)
                                        __________

  PRINCIPAL LIFE INSURANCE
  COMPANY AND SUBSIDIARIES, et al.,

                              Plaintiffs,

                       v.

  THE UNITED STATES,

                              Defendant.


                                            __________

                                             ORDER
                                            __________

       On December 14, 2011, plaintiffs filed a motion to compel production of documents by
defendant. Further briefing on that motion is hereby STAYED pending further order.

       IT IS SO ORDERED.




                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
